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EXHIBIT A
I.

Case 2:17-cv-01578-ESW Document 1-1

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Auorneys for Plaintiff

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF PINAL

SCOTT STROBEL: SUSAN STROBEL:

RYAN STROBEL; LARRY
STROBEL; and LOGAN STROBEL, A
Minor, by and through his next friend,
SCOTT STROBEL

Plaintiffs,

VS.

PINAL COUNTY: THE PINAL

COUNTY BOARD OF SUPERVISORS:

M. LANDO VOYLES; PAUL BABEU;
SHAWN WILSON; TIM GAFFNEY;
DOES I-XX and BLACK & WHITE
CORPORATIONS I-V,

Defendants.

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MAY 12 2017
Case No.: CV2017-00435 [8y_-AM
Vv
FIRST AMENDED
COMPLAINT

(Assigned to the Honorable Stephen F.

McCarville}

Plaintiffs Scott Strobel, Susan Strobel. Larry Strobel, Logan Strobel. and Ryan

Strobel. for their Complaint against Pinal County. Arizona, M. Lando Voyles. and Paul

Babeu. state as follows:

INTRODUCTION

This is an action for money damages. declaratory, and injunctive relief brought pursuant
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to 42 U.S.C. §§ 1983 and 1988, the First, Fourth, Fifth, and Fourteenth Amendments to
the United States Constitution, and under the law of the State of Arizona, against former
Sheriff Paul Babeu and former County Attorney M. Lando Voyles in their individual
and official capacities and against Pinal County, Arizona.
Plaintiff Scott Strobel alleges that Defendants Babeu and Voyles engaged in a
conspiracy to violate his civil rights by pursuing a criminal investigation and prosecution
against him without probable cause and for the purpose of retaliating against him for the
exercise of his First Amendment right to free speech. He further alleges that Defendant
Babeu maliciously or with reckless disregard for the truth made false statements to the
media that adversely affected Plaintiff's reputation, that Babeu engaged in extreme and
outrageous conduct that caused Plaintiff severe emotional distress and resulted in his
constructive discharge from his employment.
Plaintiffs Susan, Ryan, Larry, and Logan Strobel allege that Defendant Babeu engaged
in conduct so extreme and outrageous that their intense emotional distress was the
necessary result, and that they did suffer intense emotional distress as a result of Babeu’s
conduct.

JURISDICTION AND VENUE
The events giving rise to the cause of action set forth herein occurred within the County
of Pinal, State of Arizona, therefore, this Court has jurisdiction over the subject matter
and the parties to this litigation.
This Court may exercise concurrent jurisdiction over Plaintiff's claims that arise under

federal law.!

1 Howlett v. Rose, 496 U.S. 356 (1990).
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PARTIES
At all times relevant to this Complaint, Plaintiffs were residents of the State of Arizona,
County of Pinal.
Defendants Babeu, Wilson, Gaffney, and Voyles were, at all times relevant, acting under
color of state law.
Defendants Babeu, Wilson, and Gaffney are sued in their individual and official
capacities.
Voyles, who at all times relevant, was making administrative decisions, not
prosecutorial ones, is sued in his individual capacity.
That Defendant, Pinal County, Arizona, upon information and belief, is a public entity
existing under the laws of the State of Arizona and has been duly noticed of this claim
pursuant to A.R.S. § 12-821, et seq., and Rule 4(d) of the Arizona Rules of Civil
Procedure.
The alleged acts were committed by the Defendants or employees acting at Defendants’
direction. At the time of the alleged conduct, both the Defendants and their employees
were acting in the course and scope of their employment with Pinal County, Arizona.
The "Doe" Defendants [-XX are each fictitious names to designate unknown parties who
may have in some manner contributed to Plaintiffs’ injuries and damages and are liable

therefore. The true names for said Defendants are unknown to the Plaintiffs at this time
and leave of Court is sought to amend this Complaint to include their true names after

they are discovered.
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FACTS COMMON TO ALL COUNTS
Between November 2015 and March 2016, Defendant Babeu and other members of the
Pinal County Sheriffs Office initiated and conducted a criminal investigation that

targeted Plaintiff, Scott Strobel.

. Atall times relevant Scott Strobel was an Arizona Post certified law enforcement officer

employed as a Pinal County Sheriff Deputy.

On April 20, 2008, an article was published on the East Tribune’s webpage identifying
Scott Strobel as a political enemy of Paul Babeu.

On October 23, 2008, The Casa Grande Dispatch published a letter to the editor wherein
Scott, Susan, and Ryan Strobel publicly declared their support for Paul Babeu’s political
enemy.

On October 28, 2008, an article was published on pinalcentral.com identifying Scott
Strobel as a person loyal to Paul Babeu’s political enemy.

Upon information and belief, Babeu believed and/or perceived that Scott Strobel was his
political enemy.

In 2009, Paul Babeu disciplined Scott Strobel without cause by removing him as trainer
of the K-9 unit and assigning him to a desk position.

Between 2011 and 2012, Scott Strobel was the President of the Pinal County Deputies
Association.

In 2012, during Mr Strobel’s time as union President, Paul Babeu was seeking re-election

as Pinal County Sheriff.

The Pinal County Deputy’s Association voted to support Paul Babeu’s opponent.

. Mr. Strobel informed Pau! Babeu of the Association’s decision.
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Paul Babeu urged Mr. Strobel to override the vote as president of the Union.

. Mr. Strobel refused to override the vote of the Association.

In 2012, as president of PCDA, Scott Strobel prevented the Paul Babeu from altering
existing policies related to removal of shotguns from the department’s weapons arsenal,

and elimination of the uniform allowance switching, over to a Quartermaster program.

. Babeu was able to alter the policies once Scott Strobel was no longer President of the

PCDA.

in July of 2014, a complaint was lodged against Scott Strobel by Johnson Utilities where
Mr. Strobel was cleared of any wrong doing or policy violation.

Upon information and belief, Paul Babeu directed his subordinates to suspend Mr.
Strobel for 8 hours without cause related to the Johnson Utilities complaint.

On November 3, 2015, Chris Shandley claimed that Strobel had been involved in a sexual
relationship with his brother twelve years previously when his brother was a minor.
Despite the obvious conflict of interest, given Strobel’s employment with the Pinal County
Sheriff's Office, his status as persona non gratis with Paul Babeu, and his prior position
as President of the Pinal County Deputies Association, Babeu’s office initiated a criminal
investigation of Strobel.

Upon information and belief, Babeu personally guided the investigation by providing
instructions, directives and setting expectations regarding the criminal investigation to his
deputies.

Detective Shawn Wilson was the assigned Detective who handled the investigation.
Wilson was never able to corroborate the allegation, and the investigation he conducted

uncovered only exculpatory evidence.
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Despite the lack of probable cause, Wilson proceeded to Grand Jury, where he provided
materially false and misleading testimony as outlined in Strobel’s Motion to Remand.

In addition to the criminal investigation, Strobel also became the subject of internal affairs
investigation.

Upon information and belief, Babeu also guided the internal investigation by providing
instructions and directives and setting expectations regarding the internal investigation of
Mr. Strobel.

This resulted in Officers and Detectives involved in the investigation providing materially
false information during the investigation and subsequent termination proceedings.

Upon information and belief, there was no probable cause to arrest or prosecute Strobel
for Luring a Minor for Sexual Exploitation and multiple counts of Sexual Conduct with a
minor.

Upon information and belief, Babeu met with Voyles regarding the criminal investigation
of Mr. Strobel.

Upon information and belief, Babeu improperly inserted himself into the charging
decision process of the Pinal County Attorney’s Office.

Upon information and belief, Babeu and Voyles conspired to bring charges against Mr.
Strobel without probable cause and in violation of his civil rights.

Upon information and belief, Babeu and Voyles entered into a conspiracy to violate
Strobel’s civil rights in retaliation for his refusal to override the Deputies’ Association’s

decision to back Babeu’s political opponent and/or for Strobel’s role in an effort to

unionize Pinal County Deputies.
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When they sought election in 2012, Babeu and Voyles ran as the “law and order” team
but were under pressure from the Board of Supervisors to keep costs down.

Unionized deputies would have been an impediment to Babeu’s cost containment
efforts.

Upon information and belief, Voyles set expectations for members of his office to file
criminal charges against Mr. Strobel, despite the lack of probable cause.

On March 2, 2016, during the first Grand Jury presentation, the Pinal County Attorney’s
Office and the Pinal County Sheriff's Office failed to present information in a fair and
impartial manner, provided false and misleading information to the grand jury, and failed
to provide clearly exculpatory information to the Grand Jury.

The Grand Jury presentation was so improper that, facing a motion to remand the case
back to Grand Jury, the Pinal County Attorney's Office nullified their own proceeding and
took the case to a second Grand Jury.

The internal "investigation" was completed on March 24, 2016.

A supervisor signed off on the internal investigation on March 31, 2016.

Scott Strobel was provided a notice of termination from his employment with the Pinal
County Sheriffs Office on March 23, 2016.

Both Babeu and Voyles publicized the criminal investigation into Strobel, and Babeu also
publicized Strobel's termination from his employment.

After a fair and accurate presentation of the facts, the Grand Jury found there was

insufficient corroboration and/or evidence to meet the probable cause standard and issued

a"NO TRUE BILL" finding.

. On June 20, 2016, the case terminated in Mr. Strobel’s favor and was dismissed.
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Plaintiffs re-allege and incorporate by reference Paragraphs |-53.

Plaintiff Strobel claims damages against Defendants Babeu, Wilson, and Voyles under
42 U.S.C. § 1983 and the Fifth and Fourteenth Amendments for violation of his
Constitutional rights under color of state law.

Defendants instituted, prosecuted, and continued the criminal prosecution of Scott

Strobel.

. Defendants were motivated by malice.
. Defendants initiated and continued the prosecution without probable cause.

. Asa direct and proximate result of Defendants’ acts and omissions, Scott Strobel

suffered without limitation, public humiliation, mental anguish, physical injury or

illness, and the loss of past and future income and economic loss.

. Plaintiffs re-allege and incorporate by reference Paragraphs 1- 59.

. Plaintiff Strobel claims damages against Defendants Babeu, Wilson, and Voyles under

42 U.S.C. § 1983 and the Fifth and Fourteenth Amendments for violation of his

Constitutional rights under color of state law.
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. Defendant Babeu continued both a criminal and internal investigation in Strobel without

probable cause after his office failed, despite their efforts, to develop corroborating
evidence to support probable cause.
Defendants Babeu and Wilson failed to consider exculpatory evidence, failed to conduct
even a minimally competent investigation, and pressed forward without probable cause.
Defendants Babeu and Voyles conspired to initiate and continue a criminal prosecution
against Strobel without probable cause.
As adirect and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney's, experts, and other costs of defense).
COUNT III

(42 U.S.C. § 1983, retaliatory prosecution, against Defendants Babeu and Voyles)
Plaintiffs re-allege and incorporate by reference Paragraphs 1-68.
Plaintiff Strobel claims damages against Defendants Babeu and Voyles under 42 U.S.C.
§ 1983 and the First, Fifth, and Fourteenth Amendments for violation of his
Constitutional rights under color of state law.
Upon information and belief, Strobel’s protected First Amendment speech motivated the
conspiracy Babeu and Voyles entered into, and Strobel was prosecuted in retaliation for
his protected exercise of free speech.
As a direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not

limited to, expenses for attomey’s, experts, and other costs of defense).
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COUNT IV

42 U.S.C. $ 1983 (Monell liability) against Defendant Pinal County
Plaintiffs re-allege and incorporate by reference Paragraphs 1-72.
Defendant Strobel claims damages against Defendant Pinal County under 42 U.S.C.
1983 and the First, Fourth, Fifth, and Fourteenth Amendments for violation of his
Constitutional rights under color of state law.
Defendants Babeu and Voyles are policy-makers for Pinal County.
The Pinal County Sheriff's Office, under Babeu’s guidance, had a policy and practice of
politicizing criminal investigations and arrests.
The Pinal County Sheriff's Office, under Babeu’s guidance, had a policy and practice of
using internal investigations for political purposes.
These policies and practices were the moving force behind the PCSO’s decision to arrest
Strobel without probable cause.
Defendant Voyles had a policy and practice of conspiring with Babéu when it suited
their political purposes and using the power of his office to further Babeu's political
ends.
Defendant Voyles’ policy and practice was the moving force behind his prosecution of
Strobel without probable cause.
As a direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not

limited to, expenses for attorney's, experts, and other costs of defense).

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. Plaintiffs re-allege and incorporate by reference Paragraphs 1-81.

Plaintiff Strobel claims damages against Defendants Babeu and Voyles under 42 U.S.C.
§ 1985 and the First, Fourth, Fifth, and Fourteenth Amendments for conspiring to violate
his civil rights under color of state law.
As a direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney’s, experts, and other costs of defense).
COUNT VI

State Law Abuse of Process against Defendants Babeu, Wilson, and Voyles
Plaintiffs re-allege and incorporate by reference Paragraphs 1-84.
Plaintiff Strobel claims damages against Defendants Babeu, Wilson, and Voyles for
state law abuse of process for willfully misusing the court process to prosecute Strobel
without probable cause to accomplish an ulterior purpose for which the process or
procedure was not designed, including but not limited to political and financial ain,
publicity, ambition, and personal bias.
Asa direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not

limited to, expenses for attommey’s, experts, and other costs of defense).

COUNT VII

. Plaintiffs re-allege and incorporate by reference Paragraphs !-87.
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Plaintiff Strobel claims damages against Defendants Babeu, Wilson, and Voyles under

state law for arresting and prosecuting him without probable cause.

COUNT VIII

State Law Defamation against Defendants Babeu and Gaffney

Plaintiffs re-allege and incorporate by reference Paragraphs 1-89.
Plaintiff Strobel claims damages against Defendants Babeu and Gaffney under state law

for defamation.

. Defendants made and/or released statements to the press concerning Plaintiff Scott

Strobel, including, among other things accusing him of Luring a Minor for Sexual
Exploitation and Sexual Conduct with a Minor.

Defendants’ statements made and/or released to the media, including statements
regarding the merits of the charges were false, defamatory and disparaging toward Scott
Strobel.

Babeu told the press that Strobel was guilty of the crime with which he had been
charged, saying, “the results of our investigation and the grand jury indictment. show
that nobody is above the law and we are prepared to hold any offender accountable for
their criminal acts.”

Defendants are legally responsible and liable for the publication of the false, misleading
and defamatory statements in and by multiple media outlets in Arizona and elsewhere.
Defendants knowingly, recklessly, or negligently disregarded the falsity of the
statements.

The false statements contributed to end Strobel’s law enforcement career and ruin his

reputation.
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98. Asadirect and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attomey’s, experts, and other costs of defense).

COUNT IX
State Law False Light/Invasion of Privacy against Defendants Babeu and Gaffney

99. Plaintiffs realleged and incorporate by reference the allegations in paragraphs 1-98 as
though fully set forth herein.

100. Defendants knowingly or recklessly published false information or innuendo that a
reasonable person would find highly offensive.

101. Asa direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attomey’s, experts, and other costs of defense).

COUNT X
State Law Intentional Infliction of Emotional Distress against Babeu, Wilson,

and Voyles

102. Plaintiffs re-allege and incorporate by reference Paragraphs 1-101.

103. Defendants acts and/or omissions constituted extreme and outrageous conduct that
Defendants’ intended to inflict, and in fact inflicted, emotional distress and physical
injury and/or harm upon Plaintiff Scott Strobel.

104. Defendants acts and omissions were extreme, outrageous and beyond all possible realms

of decency and shock the conscience.
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105. Babeu and Voyles engaged in extreme and outrageous conduct by arresting and
prosecuting Strobel without probable cause, publicizing the investigation, termination,
and prosecution in the news, and violating Strobel’s civil rights.

106. Defendants’ acts and omissions were intentionally aimed at causing Plaintiff Scott
Strobel emotional distress and physical injury and/or harm and were in reckless
disregard of the near certainty that such injuries would result from their conduct.

107. Defendants’ actions caused Plaintiff's emotional distress.

108. As a direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney’s, experts, and other costs of defense).

COUNT XI
State Law Negligent Infliction of Emotional Distress against Defendants Babeu, Wilson,
and Gaffney

109. Plaintiffs realleged and incorporate by reference the allegations in paragraphs [-108 as
though fully set forth herein.

110. Plaintiffs Susan Strobel, Larry Strobel, Logan Strobel, and Ryan Strobel claim damages
against Defendants Babeu, Wilson, and Gaffney under state law for negligently
inflicting emotional distress upon them.

111. Defendants acts and/or omissions negligently inflicted, and in fact inflicted, emotional

distress and physical injury and or harm upon Plaintiff Scott Strobel.
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112. Defendants had a duty not to negligently inflict severe emotional harm that would
reasonably result in physical injury or harm to any person. The Defendants had a duty
not to negligently inflict severe emotional harm to family members of Scott Strobel.

113. Upon information and belief, Babeu was aware that Scott Strobel was married and had
three children when he initiated the investigation, prosecution, and publicized the
investigation, termination, and prosecution of Scott Strobel.

114. Larry and Logan were the adopted children of Scott and Susan Strobel.

115, Upon the investigation and prosecution beginning Logan became fearful that he would
be returned to the boys home where he lived prior to being adopted.

116. Asa direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the toss of past and future income and economic loss (including, but not
limited to, expenses for attorney’s, experts, and other costs of defense).

117. Asa direct and proximate result of Defendants’ acts and omissions, Susan Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or illness
(including anxiety, depression, and insomnia),

118. Asa direct and proximate result of Defendants’ acts and omissions, Ryan Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, (including PTSD) and the loss of past and future income and economic loss.

119. Asa direct and proximate result of Defendants’ acts and omissions, Larry Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not

limited to, expenses for attomey’s, experts, and other costs of defense).
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120. Asa direct and proximate result of Defendants’ acts and omissions, Logan Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or illness
(including anxiety, depression, and/or addiction) and the loss of past and future income
and economic loss.

COUNT XI
State Law Negligence against Defendants Babeu, Wilson, and Voyles

121. Plaintiffs realleged and incorporate by reference the allegations in paragraphs 1-120 as
though fully set forth herein.

122. Defendants have both statutory and common law duties of care to Scott Strobel and all
citizens when performing the functions and duties of their official positions.

123. Defendants also owe a specific duty of care to Scott Strobel with respect to conducting
criminal investigations and prosecutions.

124. Defendants are legally responsible for the management of the criminal investigation
system in the County and the establishment and implementation of policies, procedures
and protocols that govern the investigation, processing, handling and management of
criminal investigations and prosecutions under their direction and control. Their
responsibilities include ensuring that the applicable policies, procedures, and protocols
satisfy all federal and state standards.

125. Defendants breached their duty owed to Scott Strobel by failing to conduct the duties of
their positions with reasonable care; and failing to establish and implement proper
policies, procedures, and protocols governing the investigation, processing, handling and
management of criminal investigations and prosecutions under their direction and

control,
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126. Asa direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attomey’s, experts, and other costs of defense).

COUNT XII
State Law Negligence Per Se against Defendants Babeu, Wilson, and Voyles

127. Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1-126 as
though fully set forth herein.

128. Defendant Voyles duties, set forth in Arizona Rules of the Supreme Court, 42, Ethical
Rule 3.8 include the responsibility of a minister of justice and not simply that of an
advocate. This responsibility carries with it specific obligations to see that a defendant is
accorded procedural justice and that guilt is decided upon the basis of sufficient
evidence.

129. Defendant Voyles failed to competently and in good faith perform the Statutory duties
set forth herein.

130. Defendants Babeu’s and Wilson’s duties as set forth in A.R.S. § 38-231 and R13-4-109
include conducting investigations in an impartial manner and not engaging in conduct
that tends to diminish public trust in the law enforcement profession.

131. Defendants Babeu and Wilson failed to competently and in good faith perform the
statutory duties set forth herein.

132. As adirect and proximate result of Defendants’ acts and omissions, Scott Strobel

suffered without limitation, public humiliation, mental anguish, physical injury or
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illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney's, experts, and other costs of defense).
COUNT XIV
State Law Aiding and Abetting Tortious Conduct against Defendants Babeu, Wilson,
and Voyles

133. Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1-132 as
though fully set forth herein.

134. Atall relevant times, each of the Defendants knew that the other Defendants were
violating their duties and obligations to carry out their own individual agenda and
vendetta against Plaintiff Scott Strobel.

135. Each of the Defendants substantially encouraged or assisted the others in the carrying
out of the tortious conduct of the others.

136. As a direct and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney's, experts, and other costs of defense).

COUNT XV
(Constructive Discharge against Defendants Babeu and Pinal County)

137. Plaintiffs re-allege and incorporate by reference the allegations in paragraphs |-136 as

though fully set forth herein. Defendant Strobel alleges

138. Defendant Strobel alleges constructive discharge against Defendants Babeu and Pinal
County Under A.R.S. §23-1502

139. Defendant Babeu’s involvement in the investigation, prosecution, and publishing
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information about the investigation, termination, or prosecution was so egregious and

violated Scott Strobel’s civil rights that continued employment with the Sheriff's Office

was not tenable.

140. Defendant Babeu or members of the Pinal County Sheriff's Office at Babeu's direction
provided false and misleading information during the merit hearing in an
attempt to affirm Mr. Strobel’s termination.

141. As adirect and proximate result of Defendants’ acts and omissions, Scott Strobel
suffered without limitation, public humiliation, mental anguish, physical injury or
illness, and the loss of past and future income and economic loss (including, but not
limited to, expenses for attorney's, experts, and other costs of defense).

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request this Court:

A. — Enter judgment in favor of Plaintiffs and against Defendants;

B. — Enter an Order declaring the conduct of Defendants Babeu and Voyles
unconstitutional;

C. Award Plaintiffs compensatory damages in an amount to be determined by the
jury;

D. Award Plaintiffs’ counsel reasonable attomey’s fees and costs pursuant to 42

U.S.C. § 1988 and any other applicable provisions of law;

E. —_ Enter a permanent injunction, upon proper motion, requiring Defendant Pinal

County to adopt policies and procedures that prevent county officials or their employees

from publicizing adverse employment actions and law enforcement investigations,

except as may be appropriate for public safety and accountability; and from pursuing
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employee terminations for political reasons or in retaliation for an employee’s exercise
of free speech; and
F. _—_ Grant Plaintiffs such other and further relief as may be justified by the

circumstances, including damages and equitable relief.

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DATED this_/7_ day of May, 2017.

ROWLEY LONG & SIMMONS

Matthew S. Long

3707 E. Southern Ave, Ste 1103
Mesa, AZ 85206

Attorney for Plaintiffs

